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                                             March 13, 2019
The Honorable Kendall J. Newman                                                                  VIA ECF
United States District Court
Eastern District of California
501 I Street
Sacramento, CA 95814
Re:     Bangert v. County of Placer
        United States District Court, Eastern District of California, Case No. 2:17-cv-01667-KJN
                                   Synopsis of Meet and Confer Efforts
        Following receipt of the Claims Administrator’s preliminary determination of the value of each
of the 489 claims it received (at least 10 of which bore postmarks after the cut-off date), Class Counsel
reviewed each of the claims for compliance with the claim form instructions, eliminated 218 of the
claims as non-compliant, and assigned the claims the following approximate values:
                           Under $5,000           201 Total Value: $309,500
                      Between $5,000-$7,500        42     Total Value: $225,500
                              $50,000              15     Total Value: $750,000
                             $100,000               2     Total Value: $200,000
        On January 11, 2019, Class Counsel forwarded to Defense Counsel their spreadsheet indicating
each valuation. On February 20, Defense Counsel responded that their team comprised of a retired
Captain and retired Lieutenant spent in excess of 300 hours reviewing each of the claims and available
records and determined only two of them to be compensable. On March 4, counsel for the parties met in
the Placer County Counsel’s Office in Auburn to discuss the claims. Subsequently, Defense Counsel
provided class counsel with a spreadsheet providing explanation for its reasons for rejecting the claims.
       To settle the matter and to permit the prompt payment of attorneys’ fees and the class
representative’s incentive payment, Defense Counsel offered to provide a “lump sum payment” of
$150,000 for distribution to the class at Class Counsel’s discretion. This offer was rejected with an
explanation of the ethical conflicts which would preclude acceptance. Class Counsel countered with a
demand for the payment of the entire Stipulated Sum to be distributed as provided in the Stipulated
Settlement Agreement, with proportional reduction of individual claims.

        Class Counsel understood that the premise for the Stipulated Settlement was that the cost of
lawyer time (Plaintiffs’ and Defendants’) for complete discovery of all relevant facts for the entire class,
followed by a multitude of trials, would be prohibitively high. Accordingly, Class Counsel submits the
parties agreed to substitute a simplified claims process for awarding an agreed upon amount of
settlement funds to all procedurally bona fide claims. On March 7, in keeping with its understanding of
the “rough justice” underlying the settlement process, Class Counsel proposed to Defense Counsel that
they accept all claims for under $50,000 signed under penalty of perjury and supported, as required, by
narrative description of the basis for the claim (for a total of $535,000 – to be further reduced by
omitting late claims, those relating to events which preceded booking, and those relating to dates prior to
the class period), and that counsel for the parties concentrate on resolving the claims for $50,000 and
$100,000, which totaled $950,000 and for which evidence of medical treatment had already been
requested of the claimants. Defense Counsel has requested that Class Counsel provide it with a lump
sum number for resolution of all claims, with the determination as to the amounts of the payouts to be

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determined entirely by Class Counsel; Class Counsel has not done so. On March 12, 2019, Class
Counsel submitted a letter to the Court and on March 11 Defense Counsel submitted a letter to the
Court, which have led to the telephone conference set for March 15 at 3:00 p.m.
                                           Synopsis of Dispute
         Approximately 476 claims have been submitted. Of these, Class Counsel found 218 were non-
compensable in their initial review, with the remainder compensable at some level. The County found
that all of the claims were non-compensable, with the exception of 2, leaving 258 claims in dispute. The
County contends that each of the disputed claims do not qualify for the following reasons:
                           Found non-compensable by Plaintiff        218
                           No claim of force/other                    23
                           Not enough info to investigate             18
                           False/without merit                        60
                           Unfounded/no corroboration                 54
                           Reasonable/within policy                   26
                           Cleared in initial audit                   23
                           Occurred outside jail                      17
                           Outside timeframe                          16
                           Claims not signed                           7
                           Late                                       6
                           Blue Team cleared                           4
                           IA Completed/not-sustained                  2
                           Claim accepted                              2
                           Total Claims                              476
       The settlement agreement provides that a Motion for Final Approval is to be filed by Class
Counsel, in advance of the hearing date on March 28, 2019. The settlement agreement further
contemplates that as to any disputed claims, counsel are to brief them and the Court is to make binding
determinations.
        Counsel seek the Court’s guidance and to discuss the next steps with the Court given the number
of claims in dispute. In short, the County has proposed a lump sum payment to Class Counsel, with
Class Counsel to determine which claims to compensate and in what amounts. Alternatively, the County
proposes that the parties agree to eliminate certain categories of claims (for example, claims not signed
under penalty of perjury, claims that allege incidents which occurred outside the jail, etc.) and that for
only the remaining claims, the Court make a binding determination via an agreed to process. Class
Counsel, in keeping with the concept behind the Stipulated Settlement, to do “rough justice” efficiently,
has proposed accepting the claims filed under penalty of perjury which have been preliminarily valued
at under $50,000 (total of $535,000) and closely scrutinize and, after receipt of additional information,
negotiate resolution of claims for $50,000 and $100,000 (total value of $950,000), with the application
of the proportional reduction feature, if necessary.
        The settlement fund in this case is $1,449,700, minus fees and expenses of $478,401, incentive
fee of $50,000 and Administrative Costs of $40,000. This leaves available funds in the amount of
$881,299.
        Counsel requests the opportunity for each side to speak privately with the Court in advance of
the joint session so as to maximize the joint teleconference.

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Respectfully Submitted,                     Respectfully Submitted,
LAW OFFICE OF MARK E. MERIN                 OFFICE OF THE PLACER COUNTY COUNSEL

   /s/ Mark E. Merin                           /s/ Julia M. Reeves
                                               (as authorized on March 13, 2019)

Mark E. Merin & Patrick H. Dwyer            Julia M. Reeves
 Attorney for Plaintiffs                       Attorney for Defendants
 BEAU BANGERT                                  COUNTY OF PLACER, PLACER COUNTY
 and the Settlement Class                      SHERIFF’S OFFICE, DEVON M. BELL




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